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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.,

        Plaintiffs,
                                                        Civil Action No. 1:21-CV-02265-APM
             v.

DONALD J. TRUMP, et al.,

        Defendants.


       DECLARATION OF SERVICE ON DEFENDANT STOP THE STEAL, LLC

        1.        I, Edward Caspar, counsel for Plaintiffs in this matter, am over the age of 18 and

not a party to this action.

        2.        On October 31, 2021, I effected service on Defendant Stop the Steal, LLC, via

Baron Coleman, the registered agent of Stop the Steal, LLC.

        3.        Mr. Coleman requested in writing, by email to me on October 28, 2021, that I

email him the service documents at baron@baroncoleman.com and baroncoleman@gmail.com.

A true and correct copy of this email is attached hereto as Exhibit 1.

        4.        On October 31, 2021, per Mr. Coleman’s request, I emailed the Summons and

Complaint in this matter to Mr. Coleman at the forgoing email addresses.

        5.        On October 31, 2021, Mr. Coleman accepted service of the Summons and

Complaint, confirmed that he had been able to open them, and wrote, “Please consider today the

date of service.” Exhibit 1, at 1. About a minute later, he wrote again, “Please consider this the

date of service for stop the steal, not Mr. Alexander personally.” A true and correct copy of this

email is attached hereto as Exhibit 2.
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        6.       I effected service by email following several attempts by professional process

servers to serve Mr. Coleman personally and by mail.

        7.       A professional process server attempted to serve Mr. Coleman personally on

September 14, September 22, and October 15, 2021, at the address listed for him as the

registered agent of Stop the Steal, LLC: 3 South Jackson Street, Montgomery, Alabama 36104.

The process server found no offices for Mr. Coleman, his law firm, or Stop the Steal, LLC, at

that address. A true and correct copy of the process server’s affidavit to this effect is attached

hereto as Exhibit 3.

        8.       On September 24, 2021, a professional process server sent the service documents

to Mr. Coleman by registered mail to his law firm’s mailing address, Baron Coleman Law Firm,

P.O. Box 789, Montgomery, Alabama 36101-0789. A true and correct copy of the process

server’s affidavit to this effect is attached hereto as Exhibit 4.

        9.       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



Executed on November 5, 2021                            /s/ Edward G. Caspar
                                                        Edward G. Caspar




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